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iN THE UNITED STATES DISTRICT COURT re -"/ - t n
FOR THE WESTERN DISTRlCT oF TENNESSEE

EASTERN DIvISION 05 Ji,,é.él 30 Pt? 3= ig

 

JAMES ANDERS,
Plaintiff,

 

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VS.

CARROLL COUNTY COURTS,
Defendant.

No. 04-1319-T/An

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ORDER ASSESSING FILING FEE
ORDER DENYING MOTION TO RESCIND ENHANCEMENT
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
ORDER ASSESSING APPELLATE FILING FEE

 

Plaintiff, J ames Anders, an inmate at the Deberry Special Needs Facility (DSNF), in
Nashville, Tennessee filed this complaint under 42 U.S.C. § 1983 in the United States
District Court for the Eastern District of Tennessee at Greenville. United States District
Judge Thomas Hull transferred the complaint to this district court pursuant to 28 U.S.C. §
l406(a). The Clerk shall tile the case and record the defendant as the State of Tennessee.‘
I. Assessrnent of Filing Fee

Under the Prison Litigation Reform Act of 1995 (PLRA), 28 U.S.C. § 1915(b), all
prisoners bringing a civil action must pay the full filing fee of 3150 required by 28 U.S.C.
§ l9]4(a). The _i_nfo_nna_ M_er£ statute, 28 U.S.C. § 1915(a) merely provides the prisoner

 

l The complaint names "the Carroll County Courts in Huntingdon, Tenn." as defendant Plaintiff seeks

to attack a judgment entered by the Carrol] County Circuit Court. The entity known as the Carroll County Circuit Court
is, in fact the Circuit Coutt for the Twenty-fourth Judicial District at Huntingdon, and it operates pursuant to state law.
§_e§ Tenn. Code Ann. § 16-1-101 ("The judicial power of the state is vested in judges of the courts of general sessions,
recorders of certain towns and cities, circuit courts, criminal courts, common law and chancery courts, chancery courts,
court of appeals, and the supreme court, and other courts created by law_"). Plaintiff apparently realized his mistake
and on May 2, 2005, filed a motion to rescind enhancement which names the State of Tennessee as defendantl
Accordingly, the proper defendant is the State of Tennessee The Cierk shall delete all reference to Carroll County

Courts as a defendantl
Thls document entered on the docket sheet in 05 pl[i>aq,ce
with Rule 58 and.'or_?g (a) FRCF on

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the opportunity to make a "downpayment" of a partial filing fee and pay the remainder in
installments

ln this case, plaintiff has submitted both an i_n fo_r_m_a pgip_er_is affidavit and a prison
trust fund account statement Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out this order. lt is further
ORDERED that the tmst fund officer at plaintiffs prison shall calculate a partial initial filing
fee equal to twenty percent of the greater of the average balance in or deposits to the
plaintiffs trust fund account for the six months immediately preceding the completion of the
affidavit When the account contains any funds, the trust fund officer shall collect them and
pay them directly to the Clerk of Court. ff the funds in plaintiffs account are insufficient
to pay the full amount of the initial partial filing fee, the prison official is instructed to
withdraw all of the funds in the plaintiffs account and forward them to the Clerk of Court.
On each occasion that funds are subsequently credited to plaintiffs account the prison
official shall immediately withdraw those funds and forward them to the Clerk of Court,
until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to plaintiffs
account during the preceding month, but only when the amount in the account exceeds
Sl0.00, until the entire $lS0.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner's account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment

All payments and account statements shall be sent to:

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Cle_rk,_ United Stat_es District Court, Western District of Tennessee, 262 Federal
Building, 111 S. Highland Ave., Jackson, TN 38301

and shall clearly identify plaintiffs name and the case number on the first page of this order.

If plaintiff is transferred to a different prison or released, he is ORDERED to notify
the Court immediately of his change of address If still confined he shall provide the
officials at the new prison with a copy of this order.

If the plaintiff fails to abide by these or any other requirement of this order, the Court
may impose appropriate sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison.

The obligation to pay this filing fee shall continue despite the immediate dismissal
of this case. 28 U.S.C. § 1915(e)(2). The Clerk shall not issue process or serve any papers
in this case.

ll. Analysis of Claims

Plaintiff sues the State of Tennessee alleging that, in his absence and without notice,
his original judgment of conviction, which found him to be a Range I standard offender,
with a release eiigibility date of 30%, was amended, and the amended judgment provided
for a sentence as a violent offender, with a release eligibility date of 100%. Anders contends
that his constitutional rights were violated because the amended judgment took away the
possibility of parole. He seeks an order directing the state "court to let [his] original final
judgment stand." Plaintiff` supplemented his complaint with a motion to rescind
enhancement, in which he contends that the Supreme Court’s decision in Blakely v.
Washington, 124 S. Ct. 2531 (2004) requires the restoration of his original sentence and

entitles him to release.

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Anders was convicted of rape following a jury trial in the Circuit Court of Carroll
County. I-le was sentenced by the trial court as a range l standard offender to ten years
imprisonment, with a release eligibility date of thirty percentl Anders appealed his
convictionl On direct appeal, the Tennessee Court of Criminal Appeals affirmed his
conviction, The Court of Criminal Appeals noted, however, that despite the trial judge
stating twice during sentencing that Anders would be required to serve his entire sentence,
the judgment sheet indicated a release eligibility of thirty percent The Court of Criminal
Appeals stated:

An offender who commits rape on or after July l, 1995, "shall serve one
hundred percent (100%) of the sentence imposed by the court less sentence
credits earned and retarned." Tenn. Code Ann. § 40-35-501(1)(1),(2)(G).
Because the trial judge was aware of the correct release eli gibility, we need
not remand for resentencing We modify the sentence below to comport with
the above cited statute.

State v. Anders, 1999 WL 157395 (Mar. 24, 1999)(citations omitted), perm ap_p. denied,
(Tenn. Sept. 20, 1999). The Court of Appeals remanded the case to the trial court for entry
of a judgment consistent with its opinion Ld_. No reported cases can be found which
demonstrate that plaintiff filed a post-conviction petition.

Plaintiff has no claim under 42 U.S.C. § 1983 arising out of his confinement

We hold that, in order to recover damages for allegedly unconstitutional
conviction or imprisonment, or for other harm caused by actions whose
unlawfulness would render a conviction or sentence invalid, a § 1983 plaintiff
must prove that the conviction or sentence has been reversed on direct appeal,
expunged by executive order, declared invalid by a state tribunal authorized
to ma e such determination, or called into uestion by a federal court's
issuance of a writ of habeas corpus, 28 U.S.C. 2254. A claim for damages
bearin that relationship to a conviction or sentence that has not been so
invali ated is not cognizable under § 1983. Thus, when a state prisoner seeks
damages in a § 1983 suit, the district court must consider whether a judgment
in favor of the plaintiff would necessarily imply the invalidity of his
conviction or sentence; if it would, the complaint must be dismissed unless the

laintiff can demonstrate that the conviction or sentence has already been
invalidated But if the district court determines that the plaintiffs action, even
if successful, will not demonstrate the invalidity of any outstanding criminal
judgment against the plaintiff, the action shoul be allowed to proceed, in the
absence of some other bar to the suit.

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Heck v. Humphrey, 512 U.S. 477, 486-87 (1994). See also Schilling v. White, 58 F.3d
1081, 1086 (1995)(footnotes omitted). Thus a prisoner has no cause of action under § 1983
if the claims in that action hinge on factual proof that would call into question the validity
of a state court order directing his confinement unless and until any conviction is set aside
or the confinement is declared illegal. M, 512 U.S. at481-82; Schilling, 58 F.3d at 1086.
§ Preiser v. Rodriguez, 411 U.S. 475, 500 (1973)(whenever the relief sought is release
from prison, the only remedy is through a habeas petition, not a § 1983 complaint).

Here, _He_ck applies to bar plaintiffs claims arising from his confinement As plaintiff
has been convicted of rape, he must have the conviction overturned on direct appeal or via
collateral attack before any claims can accrue.

Furthermore, plaintiff cannot complain about state court decisions in a collateral
proceeding in federal court. This would amount to obtaining review in this Court of the
decision of a Tennessee court. Any claim or defense arising from the manner in which those
proceedings were litigated should have been presented in that forum.

United States district courts . . . do not have jurisdiction[]over challenges to

state-court decisions in particular cases arising out of judicial proceedings

even if those challenges allege that the state court's action was

unconstitutional Review of those decisions may be had only in this [the
United States Supreme] Court. 28 U.S.C. § 1257.

District ofColumbia Court oprpeals v. Feldman, 460 U.S. 462, 482-83, 486 (1983). M
LQ Rooker v. Fidelitv Trust Co., 263 U.S. 413, 416 (1923)(federal district courts lack
jurisdiction to review or modify a judgment of a state's highest court). in short, "[l]ower
federal courts possess no power whatever to sit in direct review of state court decisions."
Cleve]and Surgi-Center v. Jones, 2 F.3d 686, 691 (6th Cir. 1993). Similarly,

federal courts have no authority to issue writs of mandamus to direct state
courts or their judicial officers in the performance of their duties. Clark v.

Washington, 366 F.2d 678 (9th Cir. 1966); Campbell v. Washington State Bar
Ass'n, 263 F. Supp. 991 (W.D. Wash. 1967).

Haggard v. State of Tennessee, 421 F.2d 1384, 1386 (6th Cir. 1970).

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Insofar as the complaint could be construed as seeking some type of injunction
against a state court, the Anti-Injunction Act specifically prohibits this Court from issuing
such an injunction "A court of the United States may not grant an injunction to stay
proceedings in a State court except as expressly authorized by Act of Congress, or where
necessary in aid of its jurisdiction, or to protect or effectuate its judgments." 28 U.S.C. §
2283. Thus, this Court either lacks jurisdiction or must abstain from exercising any
jurisdiction over plaintiffs claim for relief from the state judgment

The Court expressly declines to address the complaint as a habeas petition and
DENIES Anders’ motion to rescind enhancement because Anders does not demonstrate that
he has exhausted his state remedies. A habeas petitioner must first exhaust available state
remedies before requesting relief under § 2254. _Sg,_;g, Granbemg v. Greer, 481 U.S. 129
(1987); Rose v. Lundy, 455 U.S. 509 (1982). w Rule 4, Rules Governing Section
2254 Cases in the United States District Courts. A petitioner has failed to exhaust his
available state remedies if he has the opportunity to raise his claim by any available state

procedure Preiser, 411 U.S. at 477, 489-90. Moreover, to exhaust these state remedies, the

 

applicant must have presented the very issue on which he seeks relief from the federal courts
to the courts of the state that he claims is wrongfully confining him. Picard v. Connor, 404
U.S. 270, 275-76 (1971); Rust v. Zent, 17 F.3d 155, 160 (6th Cir. 1994).

Accordingly, as this complaint fails to state a claim upon which relief may be granted
and presents claims which are devoid of jurisdiction, it is DISMISSED pursuant to 28
U.S.C. §§ 1915(e)(2)(B)(ii).
II. Ap_peal Issues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision i_n m Lm_uge;i§. Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken i_n foM pa_ujmi_s if the trial court certifies in writing that it is not taken in good

faith.

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The good faith standard is an objective one. Coooedge v. United States, 369 U.S.
438, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous §
Accordingly, it would be inconsistent for a district court to determine that a complaint is too
frivolous to be served, yet has sufficient merit to support an appeal m fm'_m_a p_aup§i_s. §§
Williams v. Kullman, 722 F .2d 1048, 1050 n.l (2d Cir. 1983). The same considerations that
lead the Court to dismiss this case as devoid of jurisdiction and for failure to state a claim
also compel the conclusion that an appeal would be frivolous

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith and plaintiff may not proceed on appeal _i_n
farm pmp_€m-

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case. The United States Court of Appeals for the Sixth Circuit has held
that a certification that an appeal is not taken in good faith does not affect an indigent
prisoner plaintiffs ability to take advantage of the installment procedures contained in §

1915(b). McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). McGore sets

 

out specific procedures for implementing the PLRA. Therefore, the plaintiff is instructed
that if he wishes to take advantage of the installment procedures for paying the appellate
filing fee, he must comply with the procedures set out in l\_/lc_Gog; and § 1915(b).

For analysis under 28 U.S.C. § 1915(g) of future filings, ifany, by this plaintiff, this
is the first dismissal in this district of one of his cases for failure to state a claim and as
devoid of jurisdiction

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iris so oRDERnD this 30 day OrJune, 2005.

@WWZ'M

JAME'S D. TODD
UNIT STATES DISTRICT JUDGE

 

UNiTsED`ATEs DisTRiCT C URT wEsTER r)"'isRiToF TNNEssEE

   

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This notice confirms a copy of the document docketed as number 5 iii
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.l ames Anders

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Nashville, TN 37243

Honorable .l ames Todd
US DISTRICT COURT

